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Fax: 818- 906- 1115

Attomey for plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

LOS ANGELES DIVISION
Jamalediin Emtiyaz, Case No.
_ _ 2:20613-cv-00391-BRO-JEM
Plalntlff,
vs. FIRST AMENDED COMPLAINT
FOR DAMAGES FOR BREACH
1 Mark Nezam Emtiaz OF CONTRACT COMMON
2 Pacif_ic World Trade, lnc., a COUNTS, FRAU,D BREACH OF
alif omia corporation; FIDUCIA’RY DUTY AND FoR
g)l_f Paciflc World D_iscovery LLC, a SPECIFIC PERFORMANCE
ali fornia Corporation; .

gt)f Pacif'ic World Marine LLC, a
alif omia Corp oration;
g)lf Pacif_ic World Properties LLC, a DEMAND FOR JURY TRIAL
ali fornia Corp oration;
(6&1’1acif'1c_ World lnvestments LLC,
a 1 forma Corp oration; and Hon. Beverl Reid O’Connell,
g) Paciflc World H_oldings LLC, a Judge Presi ing
alifornia Corporation.

Defendants.

 

 

 

Plaintiff, Jamalediin Emtiyaz, by and through his undersigned counsel,

alleges as follows:
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FIRST AMENDED COMPLAlNT; DEMAND FOR JURY TRIAL

 

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Jurisdiction

l. This Court has jurisdiction under 28 U.S.C. § 1332 because there is

diversity of citizenship and an amount in controversy greater than $75,()00.
Venue

2. Venue is proper pursuant to 28 U.S.C. § 1391 because the defendants,

and each of them, reside in this district.
Parties

3. Plaintiff is a citizen of Iran and a resident of Fads, France.

4. On information and belief, defendant Mark Nezam Emtiaz is a United
States citizen and a resident of Los Angeles, Califomia.

5. On information and belief, Defendant Pacitic World Trade Inc., is a
Califomia corporation, with its principal place of business‘in Los Angeles,
Califomia.

6. On information and belief, Defendant Pacific World Discovery LLC,
is a Califomia limited liability company, with its principal place of business in Los
Angeles, Califomia.

7. On information and belief, Defendant Pacif1c lWorld Marine LLC, is a
Califomia limited liability company, with its principal place of business in Los
Angeles, Califomia.

8. On information and belief, Defendant Pacific World Properties LLC,
is a Califomia limited liability company, with its principal place of business in Los
Angeles, Califomia. ‘

9. On information and belief, Defendant Pacific World Investments
LLC, is a Califomia limited liability company, with its principal place of business
in Los Angeles, Califomia.

10. On information and belief, Defendant Pacific World Holdings LLC, is
a Califomia limited liability company, with its principal place of business in Los

Angeles, Califomia.

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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Statement of Facts

ll. Plaintiff is the founder, majority shareholder and Chief Executive
Offlcer of the AKN Group of companies. Plaintiff has his principal place of
business in Paris, France. '

12. In 2003, Plaintiff started implementing plans to expand his business
into the United States. He approached his older brother, Defendant Mark Nezam
Emtiaz, who had emigrated to the United States, to join AKN Group and to
manage Plaintiff’ s investments in the United States.

13. In or about the Summer of 2003, Plaintiff and Defendant Mark
Nezam Emtiaz entered into an oral agreement (“Agreement”) pursuant to which
the parties agreed, among other things, that:

a. Defendant Mark Nezam Emtiaz would work with Plaintiff to
expand AKN group’s business in the United States;

b. Defendant Mark Nezam Emtiaz would devote his full time
efforts to manage all aspects of AKN group’s business in the United States in
exchange for (1) compensation comparable with that which he had been
earning, and (2) 15% of the ownership interest in AKN’s businesses in the
United States; '

c. Plaintiff would fund the AKN group’s business in the United
States by way of loans made to the businesses as directed by Defendant Mark
Nezam Emtiaz;

d. Defendant Mark Nezam Emtiaz would hold in trust for the
benefit of Plaintiff the 85% ownership interest of plaintiff in AKN’s businesses
in the United States and that would transfer such interest to Plaintiff upon
request;

e. Defendant Mark Nezam Emtiaz would regularly report on
the status of AKN’s businesses in the United States and provide an accounting

for funds provided to and earned by AKN’s businesses in the United States.

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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14. lmmediately prior to the formation of the Agreement and in order
to induce Plaintiff to enter into the Agreement, Defendant Mark Nezam Emtiaz
represented that:

a. Due to their relationship as brothers,' Defendant Mark
Nezam Emtiaz would protect and advance Plaintiffs interests in AKN group’s
businesses in the United States;

b. Defendant Mark Nezam Emtiaz was ready, willing, and able
to assist Plaintiff in the expansion of AKN group’s businesses into the United
States; l

c. Defendant Mark Nezam Emtiaz was ready, willing and able to
act in good faith as a trustee for plaintiff who would hold for the benefit of
plaintiff 85% of the ownership interest in AKN’s companies in the United States,
and that he would transfer such interest to Plaintiff upon request

15 . During the months and years from and after the date the Agreement
was made, and during the times when the herein described transfers of funds were
made, whenever the matter was discussed between plaintiff and Defendant Mark
Nezam Emtiaz, said defendant represented that he was holding and would hold
85% of the interest in AKN's U.S. companies in trust for the benefit of Plaintiff,
and that he would transfer the 85% interest to Plaintiff when Plaintiff requested
him to do so.

16. No express trust instrument in relation to Plaintiffs 85% interest was
signed because Plaintiff trusted that his older brother would not betray his younger
brother, and believed that Defendant Mark Nezam Emtiaz would transfer the 85%
interest to Plaintiff when asked to do so. Plaintiff reposed full confidence in his
brother, Defendant Mark Nezam Emtiaz, and the herein described transfers of
funds and holding of the ownership interred in the AKN companies, were made
because of, and in the context of, a fiduciary relationship that existed between

Plaintiff and Defendant Mark Nezam Emtiaz,

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRlAL

 

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17. Pursuant to the Agreement, Defendant Mark Nezam Emtiaz formed
AKN companies in the United States, incorporating in September 2003 defendant
Paciflc World Trade lnc., forming in February 2006 defendant Paciflc World
Investments LLC, defendant Paciflc World Marine LLC, defendant Paciiic World
Holdings LLC, defendant Pacific World Properties LLC, and forming in March
2007 defendant Paciiic World Discovery LLC.

18. Between August 2003 and January 2007, Plaintiff transferred
811,363,976.00 through his AKN companies (Iran, Dubai & Singapore) to
Defendant Mark Nezam Emtiaz personally and/or to one or more of the AKN
companies in the United States (defendants Pacific World Trade Inc., Pacitic
World Investments LLC, Paciflc World Marine LLC, Pacific World Holdings
LLC, Pacific World Properties LLC, and Pacitic World Discovery LLC). The
AKN companies were acting as the agent of Plaintiff in transferring the monies.

In all, Plaintiff loaned and transferred the following sums i'n reliance on Defendant

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mark Nezam Emtiaz's agreement and representations:
date amount
1 08.04.2003 $15,000.00
2 08.21.2003 $20,000.00
3 12.26.2003 $15,000.00
4 01 .01.2004 $500.00
5 03.02.2004 $15,000.00
6 05.1 1.2004 $20,000.00
7 07.11.2004 $50,000.00
8 08.17.2004 $25,000.00
9 09.11.2004 $60,041.00
10 08.10.2004 $65,000.00
11 11.09.2004 $57,500.00
12 12.13.2004 855,000.00
13 01 .15.2005 $59,500.00
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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

 

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14 01 .23.2005 $500.00
15 02.16.2005 $50,000.00
16 12.10.2005 $275.00
17 03.19.2005 $52,000.00
18 04.15.2005 $55,000.00
19 05.15.2005 $57,000.00
20 06.13.2005 $55,000.00
21 07.1 1.2005 $60,000.00
22 08.15.2005 $60,000.00
23 07.09.2005 $100,000.00
24 08.29.2005 $100,000.00
25 10.17.2005 $2,225,000.00
26 11.17.2005 $55,000.00
27 08.29.2005 $100,000.00
28 12.21.2005 $60,000.00
29 01 .23.2006 $59,980.00
30 02.12.2006 $1,250,000.00
31 02.27.2006 $78,000.00
32 03.1 1.2006 $1,249,980.00
33 03.20.2006 $ l ,250,000.00
34 04.19.2006 $50,000.00
35 05.07.2006 $1 18,700.00
36 05.31.2006 $1,750,000.00
37 05.30.2006 $750,000.00
38 06.14.2006 $70,000.00
39 12.18.2006 $700,000.00
40 01 . 10.2007 $550,000.00
TOTAL $1 1,363,976.00

 

19. None of these sums have been repaid, nor otherwise returned, to

Plaintiff. Defendant Mark Nezam Emtiaz has failed to account to Plaintiff for the

use of said funds.

FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

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20. Plaintiff asked Defendant Mark Nezam Emtiaz for reports as to the
operation of the AKN companies in the United States and to account for the funds
that had been advanced to defendant Mark Nezam Emtiaz for the operation of such
companies; beginning in or about February 2007, Defendant Mark Nezam Emtiaz
failed to provide the reports or otherwise account for the funds, giving a variety of
excuses for not sending the reports and repeatedly promising to send them to
Plaintiff going forward. Plaintiff accepted said defendant’s promises and
representations for the failure to provide regular reports. Plaintiff trusted his
brother and assumed that he would eventually follow through with his promises,
as he did with his other brothers who ran his other entities.` It was only on or about
February 2, 2011, when Defendant Mark Nezam Emtiaz wrote that transferring the
shares “was not an option” that Plaintiff learned that Defendant Mark Nezam
Emtiaz was renouncing his obligations to Plaintiff and was not intending to
perform his obligations to Plaintiff.

21. It was only in February, 2011, that Plaintiff discovered that Defendant
Mark Nezam Emtiaz did not intend to perform his obligations and refused to abide
by the terms of the trust and the Agreement to transfer to Plaintiff his 85% share in
the AKN companies in the United States (defendants Pacific World Trade Inc.,
Pacific World lnvestments LLC, Paciflc World Marine LL.C, Pacific World
Holdings LLC, Pacific World Properties LLC, and Pacific World Discovery LLC).
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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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Claims
First Cause of Action
(Breach of Contract)

22. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs 1 through 21.

23. The Defendants have received $11,363,976.00 from Plaintiff pursuant
to the Agreement and have failed to comply with the terms on which the loan was
given, entitling Plaintiff to demand repayment of the loan.

24. The Defendants have not repaid any part of the loan, and refuse to
repay or account for any part of it. Plaintiff is entitled to immediate repayment of
the loaned amounts.

25. Plaintiff has made a formal demand for an accounting of and for the
return of the loan amounts, but the Defendants have refused comply with either
demand.

26. Plaintiff is entitled to an immediate repayment of $l 1,363,976.00,
being the loaned amount transferred to the Defendants, plus interest from the date
repayment was demanded,

Second Cause of Action
(Corrnnon Count - Money Lent)

27. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs l through 21.

28. Within the last four years, at Los Angeles, Los Angeles County,
Califomia, defendants, and each of them, became indebted to plaintiff in the
principal sum of $1 1,363,976.00 for money lent to the defendants, and each of
them.

29. Neither the whole nor any part of the same sum has been paid, though
payment has been demanded, leaving a balance due, owing and unpaid to plaintiff

in the principal sum of 81 1,363,976.00, together with interest thereon as provided

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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by law.
Third Cause of Action
(Common Count - Unjust Enrichment)

30. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs l through 21.

31. Within the last four years, at Los Angeles, Los Angeles County,
Califomia, defendants, and each of them, became unjustly enriched at the expense
of plaintiff, in the principal sum of $l 1,363,976.00.

32. Neither the whole nor any part of the same sum has been paid, though
payment has been demanded, leaving a balance due, owing and unpaid to plaintiff
in the principal sum of $11,363,976.00, together with interest thereon as provided
by law.

Fourth Cause of Action
(Fraud and Deceit)

33. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs 1 through 21. l

34. Defendant Mark Nezam Emtiaz falsely misrepresented that if Plaintiff
were to loan funds for investment in the United States that he would (1) account to
Plaintiff for the use of the funds and would continue to do so on a regular basis,
(2) incorporate certain corporations on behalf of Plaintiff to invest the loan
monies, and to transfer 85% of the ownership in these corporations to Plaintiff on
demand, and (3) ensure that the loan amounts would be repaid on demand.

35. Defendant Mark Nezam Emtiaz knew that those representations were
false when he made them, or made them recklessly without regard for their truth.
Defendant Mark Nezam Emtiaz made those false representations with an intent for
Plaintiff to rely on them, and to induce Plaintiff to make transfers of funds.

36. Plaintiff reasonably and justifiably relied on Defendant Mark Nezam

Emtiaz's representations and has suffered loss as a result by transferring

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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$11,363,976.00 in funds without getting anything in retum.

37. Defendant Mark Nezam Emtiaz's false and fraudulent representation
constituted the tort of fraudulent deceit as defined in Civ. Code, §§ 1709 and
1710.

38. The Plaintiff did not discover or become aware that Defendant Mark
Nezam Emtiaz's representation was false and fraudulent until on or about February
2011, when Defendant Mark Nezam Emtiaz refused to acknowledge the parties'
agreement, and their trust and loan arrangement.

39. Defendant Mark Nezam Emtiaz acted oppressively, maliciously, with
a conscious disregard of the rights of others, and With the intent to defraud, harass,
and annoy plaintiff, and Plaintiff is therefore entitled to punitive damages
according to proof.

Fifth Cause of Action
(Breach of Fiduciary Duty)

40. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs 1 through 21.

41. Plaintiff, in transferring these sums of money and allowing Defendant
Mark Nezam Emtiaz to hold his interest in the AKN companies in the U.S.,
reposed full confidence in his brother, Defendant Mark Nezam Emtiaz. These
transfers and holding of the ownership interred in the AKN companies, were made
because of, and in the context of, a fiduciary relationship that existed between
Plaintiff and Defendant Mark Nezam Emtiaz,

42. Defendant Mark Nezam Emtiaz has breached and abused the
fiduciary relationship and has breached his duties as a fiduciary by failing to use
the money for the purpose and in the manner for which it was transferred, and by
failing to account for the use of those funds. Defendant Mark Nezam Emtiaz has
also breached and abused the fiduciary relationship in refusing to transfer to

Plaintiff the Plaintiffs ownership interest in the AKN companies in the U.S..

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Instead, because Defendant Mark Nezam Emtiaz now refuses to acknowledge that
Plaintiff has any interest in the AKN companies in the U.S'., Defendant Mark
Nezam Emtiaz has used Plaintiff‘s money for his own profit and personal
advantage.

43. Defendant Mark Nezam Emtiaz's breach of fiduciary duty has caused
Plaintiff damage and loss.

Sixth Cause of Action
(Breach of Trust - Specific Performance)

44. Plaintiff realleges and reincorporates by reference herein the
allegations contained in paragraphs l through 21.

45. Defendant Mark Nezam Emtiaz agreed that in return for Plaintiff
transferring funds pursuant to the Agreement, that Plaintiff would have a 85%
ownership interest in the AKN companies in the United States (defendants Pacific
World Trade Inc., Pacific World Investments LLC, Pacific World Marine LLC,
Pacific World Holdings LLC, Pacific World Properties LLC, and Pacific World
Discovery LLC). Defendant Mark Nezam Emtiaz's refusal to transfer the 85%
ownership interest in these companies to Plaintiff constitutes a breach of trust.

46. Defendant Mark Nezam Emtiaz holds this 85% ownership interest in

trust for Plaintiff and must be compelled to transfer this interest to Plaintiff.

Request for Relief
WHEREFORE, Plaintiff respectfully requests the following relief:
1. On the contract and common count causes of action, damages of

$11,363,976.00;

2. On the fraud and breach of fiduciary duty causes of action, damages
according to proof;

3. On the specific performance cause of action, an order directing
Defendant Mark Nezam Emtiaz to transfer the 85% ownership interest in Pacific

World Trade Inc., Pacific World Discovery LLC, Pacific World Marine LLC,

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

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Pacific World Properties LLC, Pacific World Investrnents LLC, and Pacific World
Holdings LLC. to Plaintiff;

4. Interest on all the monetary sums above;

5. Costs of suit; and

6. Such other relief as the Court deems just and equitable

DATED: July 19, 2013 Stephen H. Krumm
Attomey at Law

By: LS/SW¢M KMMM
tep en H. Krumm

 

Jury Demand
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
demands a trial by jury of this action,

DATED: July 19, 2013 Stephen H. Krumm
Attorney at Law

By: /§/S%¢W K)u~»m\
tep en H.Krumm

 

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FIRST AMENDED COMPLAINT; DEMAND FOR JURY TRIAL

 

